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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF GEORGIA
                                   MACON DIVISION

THOMAS D. MOODY,                                      )
                                                      )
       Plaintiff,                                     )
                                                      ) Civil Action File No.
v.                                                    )
                                                      )
BASS PRO OUTDOOR WORLD,                               )
LLC d/b/a BASS PRO SHOPS,                             )
                                                      ) JURY TRIAL DEMANDED
       Defendant.                                     )

                COMPLAINT FOR EQUITABLE RELIEF AND DAMAGES

       Plaintiff Thomas D. Moody (“Plaintiff” or “Mr. Moody”) files this Complaint for Equitable

Relief and Damages against Defendant Bass Pro Outdoor World, LLC d/b/a Bass Pro Shops (“Bass

Pro Shops” or “Defendant”) Office showing the Court as follows:

                                          INTRODUCTION

       1.       This is an action for age discrimination in violation of the Age Discrimination in

Employment Act of 1967, 29 U.S.C. § 621 et seq. (“ADEA”). In May 2020, Mr. Moody’s Regional

Director, Daniel Vinson, told Mr. Moody, who at the time was 60 years old, “you are an old

manager.” Two weeks later, Mr. Vinson terminated Mr. Moody and because of his age and

replaced him with someone substantially younger. Mr. Moody seeks injunctive and equitable

relief, back pay and lost benefits, front pay or reinstatement, liquidated damages, attorney’s fees,

and expenses.

                                     Jurisdiction and Venue

       2.       This Court has subject matter jurisdiction over Plaintiff’s claims under 28 U.S.C. §

1331 and 29 U.S.C. § 626(c)(1).

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          3.      Venue is proper in the Middle District of Georgia under 28 U.S.C. § 1391(b) and

(c) because the unlawful actions giving rise to this matter were committed in the Middle District

of Georgia.

                              Exhaustion of Administrative Remedies

          4.      On November 11, 2020, Mr. Moody timely filed a charge of discrimination –

Charge No. 410-2021-00961 – with the Equal Employment Opportunity Commission within 180

days of the occurrence of the acts of which he complains.

          5.      Mr. Moody brings this suit within ninety (90) days of receiving the Notice of Right

to Sue.

                                             The Parties

          6.      Mr. Moody is a citizen of the United States and a resident of Georgia.

          7.      At all times relevant to his claims, Mr. Moody was Bass Pro Shop’s “employee”

within the meaning of 29 U.S.C. § 630(f).

          8.      Mr. Moody was 60 years old when Bass Pro Shops terminated him.

          9.      Bass Pro Shops is a foreign limited liability company licensed to do business in

Georgia with a retail location in Macon, Georgia.

          10.     Mr. Moody worked at the Bass Pro Shops location in the Middle District of Georgia

at 5000 Bass Pro Boulevard, Macon, Georgia 31210.

          11.     Bass Pro Shops may be served with process via personal service on its registered

agent, The Corporation Company (FL), 106 Colony Park Drive, Suite 800-B, Cumming, Georgia

30040.

          12.     At all times pertinent to this lawsuit, Bass Pro Shops has been engaged in an


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industry affecting commerce within the meaning of 29 U.S.C. § 630(h).

       13.     Bass Pro Shops is an “employer” within the meaning of 29 U.S.C. § 630(b).

                                      Statement of Facts

       14.     Mr. Moody began employment with Bass Pro Shops as a Manager-in-Training in

May 2011 in Portage, Indiana.

       15.     In June 2012, Mr. Moody was promoted to General Manager and relocated to Bass

Bro Shops’ Macon retail store.

       16.     Throughout his employment as General Manager, Mr. Moody’s performance met

expectations and he performed successfully in his role.

       17.     In the spring of 2020, sales at the Macon location were good.

       18.     In March 2020, Mr. Moody received the best performance review of his

employment with Bass Pro Shops.

       19.     On May 26, 2020, Regional Director Danny Vinson visited Mr. Moody’s store for

a walk through.

       20.     During the walk through, Mr. Vinson told Mr. Moody, “You are an old manager.”

       21.     When Mr. Moody asked Mr. Vinson if he had just called him old, Mr. Vinson

laughed.

       22.     Two weeks later, on June 10, 2020, Mr. Vinson terminated Mr. Moody and replaced

him was a manager who was substantially younger.

                       COUNT I: AGE DISCRIMINATION – ADEA

       23.     Mr. Moody incorporates by reference all the preceding paragraphs.

       24.     Bass Pro Shops discriminated against Mr. Moody because of his age, in violation


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of the ADEA when it terminated his employment because he was “an old manager.”

       25.      But for Mr. Moody’s age, he would not have been terminated from Bass Pro Shops.

       26.      Bass Pro Shop’s discriminatory actions have caused Moody damages including, but

not limited to lost wages and benefits.

       27.      Bass Pro Shop’s discriminatory acts were willful within the meaning of the ADEA,

and Mr. Moody is therefore entitled to liquidated damages under 29 U.S.C. § 626(b).

                                          Prayer for Relief

       WHEREFORE, Mr. Moody demands TRIAL BY JURY on all issues so triable and the

following relief:

       (a)      a declaration that Bass Pro Shops violated Mr. Moody’s rights under the ADEA;

       (b)      a permanent injunction against Bass Pro Shops, its officers, agents, successors,

employees, attorneys, assigns and other representatives, and all those acting in concert with them

or at their direction, from engaging in any further such violations;

       (c)      full back pay, including lost compensation and benefits, compensation and benefits

increases Mr. Moody would have received in the absence of discrimination, retirement losses, and

all other components of compensation and benefits reducible to a dollar value;

       (d)      prejudgment interest on any award as required by law;

       (e)      liquidated damages equal to Mr. Moody’s back pay as a result of Defendant’s

willful violations of the ADEA;

        (f)     reinstatement to Mr. Moody’s former position with Defendant, with all seniority

and benefits made retroactive to his termination date or, in lieu of reinstatement, front pay through

Mr. Moody’s projected retirement date;


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        (g)   reasonable attorney’s fees, costs, and expenses; and

        (h)   such additional monetary and equitable relief as may be just.

       Respectfully submitted this 12th day of July, 2021.

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